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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

NATALYA MAZURKEVICH,

        Plaintiff,                         Case No. 2:17-cv-12455

v.                                         HONORABLE STEPHEN J. MURPHY, III

EQUITYEXPERTS.ORG, LLC,

      Defendant.
______________________________/

                         ORDER GRANTING
     PLAINTIFF'S MOTION TO EXTEND THE DISMISSAL DEADLINE [43]

       On August 4, 2020 Plaintiff informed the Court that the case had settled.

ECF 40. As a result, the Court dismissed the case without prejudice and ordered

the parties to file closing documents dismissing the case with prejudice by

September 30, 2020. ECF 41. On the day the closing documents were due, Plaintiff

moved to extend the dismissal deadline to October 30, 2020. ECF 43. And Defense

counsel consented to the extension. Id. at 211. The Court will grant the request. The

parties shall file closing documents dismissing the case with prejudice no later than

October 30, 2020.

       WHEREFORE, it is hereby ORDERED that Plaintiff's motion to extend the

dismissal deadline [43] is GRANTED.
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      IT IS FURTHER ORDERED that the parties shall SUBMIT a proposed,

stipulated order dismissing the case with prejudice no later than October 30, 2020.

      SO ORDERED.

                                      s/Stephen J. Murphy, III
                                      STEPHEN J. MURPHY, III
                                      United States District Judge
Dated: October 1, 2020

I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on October 1, 2020, by electronic and/or ordinary mail.

                                      s/David P. Parker
                                      Case Manager




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